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                      THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA, THE
 STATES OF ALASKA, CALIFORNIA,
 COLORADO, CONNECTICUT, DELAWARE,
 THE DISTRICT OF COLUMBIA, FLORIDA,                      Civil Action No. 18-12558
 GEORGIA, HAWAII, ILLINOIS, INDIANA,
 IOWA, LOUISIANA, MARYLAND,
 MASSACHUSETTS, MICHIGAN,
 MINNESOTA, MONTANA, NEVADA, NEW
 JERSEY, NEW MEXICO, NEW YORK,
 NORTH CAROLINA, OKLAHOMA, RHODE
 ISLAND, TENNESSEE, TEXAS, VERMONT,
 VIRGINIA, AND WASHINGTON, ex rel.
 OMNI HEALTHCARE, INC.,

                          Plaintiffs,

              v.

 MD SPINE SOLUTIONS LLC, D/B/A MD
 LABS INC., DENIS GRIZELJ, MATTHEW
 RUTLEDGE, AND DOE HEALTHCARE
 PROVIDERS 1 – 100,

                          Defendants.


   DEFENDANTS’ CONSENT MOTION REQUESTING LEAVE FOR A REPLY AND
   SUR-REPLY REGARDING MOTION TO DISMISS THE AMENDED COMPLAINT

         Pursuant to Local Rule 7.1 of the Local Rules of the United States District Court for the

District of Massachusetts, defendants MD Spine Solutions LLC, d/b/a MD Labs, Inc. (“MD

Labs”), Denis Grizelj, and Matthew Rutledge (collectively, “MD Labs & Owners”), respectfully

submit this consent motion requesting permission to file a reply in response to the opposition to

our motion to dismiss filed by the relator, Omni Healthcare, Inc. (“the relator”), ECF No. 93.

We also request that the relator be granted an opportunity to file a sur-reply thereafter.

         Good cause supports this motion. In its memorandum in opposition to our motion to



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dismiss the amended complaint, the relator argues that it has adequately pleaded violations of the

False Claims Act with particularity in accordance with Rule 9(b) of the Federal Rules of Civil

Procedure. Rel. Opp. Mot. to Dismiss at 8-19. We wish to respond to the relator’s arguments

and explain why dismissal of the amended complaint is warranted. We also wish to address the

relator’s half-hearted defense of its improper “shotgun” approach to pleading and the relator’s

misplaced reliance on the Corporate Integrity Agreement appended to its brief (which is not cited

in the amended complaint and thus not properly considered by the Court on a Rule 12(b)(6)

motion). See id. at 13 & ECF No. 93-01 & 93-02. Because granting our request to file a reply

brief would facilitate the Court’s resolution of our motion and help focus the issues in

anticipation of oral argument scheduled for August 3, 2022, this motion should be granted.

         On June 20, 2022, counsel for MD Labs & Owners contacted counsel for the relator

regarding this motion and was informed that the relator will consent to our request to file a reply

in support of our motion to dismiss on the condition that we consent to the relator filing a sur-

reply by July 15, 2022. Defendants agreed to this proposal, and thus respectfully submit that the

Court grant this motion and enter the following schedule for further briefing.

               •   MD Labs & Owners shall file a reply brief in support of their motion to dismiss
                   by July 1, 2022;

               •   The relator shall file a sur-reply responding to MD Labs & Owners’ reply by July
                   15, 2022;

                                            CONCLUSION

         For these reasons, MD Labs & Owners respectfully request that the Court grant this

motion and enter an order allowing further briefing as set forth above.

                                                Respectfully submitted,

                                                By: s/Alexander O. Canizares



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                                         and Matthew Rutledge




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                           LOCAL RULE 7.1(a)(2) CERTIFICATION

         Pursuant to Local Rule 7.1(a)(2), I, Alexander O. Canizares, counsel for Defendants MD

Spine Solutions LLC, d/b/a MD Labs, Inc., Denis Grizelj, and Matthew Rutledge, hereby

certifies that we have conferred with counsel for the relator, Omni Healthcare, Inc., to resolve or

narrow the issues presented in this motion, and the parties agreed to the relief requested herein.

                                                        s/ Alexander O. Canizares
                                                        Alexander O. Canizares

                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 23, 2022, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system which will send notification of such filing to all registered

participants identified on the Notice of Electronic Filing (NEF) and paper copies will be sent to

those indicated as non-registered participants on this date.


Dated: June 23, 2022                                    s/ Alexander O. Canizares
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